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NORTHROP GRUMMAN SHIP SYSTEMS, INC.,
             Plaintiff,
     v.                                             Misc. No. 20-257-LPS

THE MINISTRY OF DEFENSE OF THE REPUBLIC OF
VENEZUELA,
             Defendant.

CONTRARIAN CAPITAL MANAGEMENT, L.L.C.,
CONTRARIAN CAPITAL FUND I, L.P., CONTRARIAN
CAPITAL FUND I, L.P., CONTRARIAN CAPITAL SENIOR
SECURED, L.P., CONTRARIAN EM II, LP, CONTRARIAN
EMERGING MARKETS, L.P., POLONIUS HOLDINGS,
LLC, CONTRARIAN FUNDS, L.L.C., and CONTRARIAN
DOME DU GOUTER MASTER FUND, LP,                      Misc. No. 21-18-LPS
             Plaintiffs,
      V.

BOLIVARIAN REPUBLIC OF VENEZUELA,
             Defendant.

ACL I INVESTMENTS LTD., ACL2 INVESTMENTS LTD.,
and LOO (CAYMAN) XVIII LTD.,
             Plaintiff,
      v.                                             Misc. No. 21-46-LPS

BOLIVARIAN REPUBLIC OF VENEZUELA,
             Defendant.

RUSORO MINING LIMITED,
           · Plaintiff,
      v.                                            Misc. No. 21-481-LPS

BOLIV ARIAN REPUBLIC OF VENEZUELA,
             Defendant.
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RED TREE INVESTMENTS, LLC,
             Plaintiff,
     v.                                              Misc. No. 22-68-LPS

PETR6LEOS DE VENEZUELA, S.A. and PDVSA
PETR6LEO, S.A.,
             Defendants.

RED TREE INVESTMENTS, LLC,
             Plaintiff,
     v.                                              Misc. No. 22-69-LPS

PETR6LEOS DE VENEZUELA, S.A. and PDVSA
PETR6LEO, S.A.,
           · Defendants.

CONTRARIAN CAPITAL MANAGEMENT, L.L.C.,
CONTRARIAN CAPITAL FUND I, L.P., CONTRARIAN
CAPITAL FUND I, L.P., CONTRARIAN DOME DU
GOUTER MASTER FUND, LP, CONTRARIAN CAPITAL
SENIOR SECURED, L.P., CONTRARIAN EM II, LP,
CONTRARIAN EMERGING MARKETS, L.P., POLONIUS
HOLDINGS, LLC, CONTRARIAN FUNDS, L.L.C., and        Misc. No. 22-131-LPS
EMMA 1 MASTER FUND, L.P.,
             Plaintiffs,
     V.

BOLJVARIAN REPUBLIC OF VENEZUELA,
             Defendant.

KOCH MINERALS SARL, KOCH NITROGEN
INTERNATIONAL SARL,
             Plaintiffs,                             Misc. No. 22-156-LPS
      v.
BOLIVARIAN REPUBLIC OF VENEZUELA,
             Defendant.




                                     .
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CONTRARIAN CAPITAL MANAGEMENT,. L.L.C.,
CONTRARIAN CAPITAL FUND I, L.P., CONTRARIAN
CAPITAL FUND I, L.P., CONTRARIAN DOME DU
GOUTER MASTER FUND, LP, CONTRARIAN CAPITAL
SENIOR SECURED, L.P., CONTRARIAN EM II, LP,
CONTRARIAN EMERGING MARKETS, L.P., BOSTON
PATRIOT SUMMER ST LLC, POLONIUS HOLDINGS,
LLC, CONTRARIAN FUNDS, L.L.C., EMMA I MASTER        Misc. No. 22-263-LPS
FUND, L.P., and El SP, A SEGREGATED ACCOUNT OF
EMAP SPC,
            Plaintiffs,
      v.
BOLIVARIAN REPUBLIC OF VENEZUELA,
            Defendant.

CONOCOPHILLIPS GULF OF PARIA B.V.,
            Plaintiff,
      V.                                            Misc. No. 22-264-LPS

CORPORACl6N VENEZOLANA DEL PETR6LEO, S.A.,
and PETR6LEOS DE VENEZUELA, S.A.,
            Defendants.

SIEMENS ENERGY, INC.,
            Plaintiff,
      v.                                            Misc. No. 22-347-LPS

PETR6LEOS DE VENEZUELA, S.A.,
            Defendant.

GOLD RESERVE INC.,
            Plaintiff,
      v.                                            Misc. No. 22-453-LPS

BOLIVARIAN REPUBLIC OF VENEZUELA,
            Defendant.
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                                    MEMORANDUM ORDER

        At Wilmington this 10th day of May, 2023:

        IT IS HEREBY ORDERED that:

         1.    The Special Master' is reminded of his obligation to file redacted versions of his

billing records (including itemized statements). He shall do so for all billing records for which

redacted versions have not already been filed no later than May 19, 2023. Going forward, he

shall file such redacted versions no later than seven (7) days after·the submission of the billing

records to the Court.

        2.     The Court recognizes that the cases initiated by six· creditors (the "Six Creditor

Actions") have been temporarily stayed by the U.S. Court of Appeals for the Third Circuit.2 The

Court does not read the Third Circuit's stay order as precluding the parties to the Six Creditor

Actions from participating, to the extent required (e;g., PDVSA, which is a party to non-stayed

actions) or desired (e.g., the six creditors), in non-stayed actions that may impact their rights or

interests. Accordingly, tl:ie parties to the Six Creditor Actions are invited to participate in the

briefing the Court is hereby ordering (or has already ordered) in Misc. No. 17-151 (the

"Crystal/ex Action").




1
  All capitalized tenns that are not expressly defined herein have the meanings given to them in
the Sale Procedures Order filed in the Crystalle;x Action. (See Misc. No. 17-151 D.I. 481}
2
 The Six Creditor Actions are Misc. Nos. 19-290, 20-257, 21-46, 21-481, 22-156, and 22-453.
This Order is being docketed in the Six Creditor Actions in an abundance of caution, simply to
ensure that all parties to those actions have notice of what the Court is doing in related actions,
most particularly in the Crystal/ex Action .. The instant Order does not require the parties to the
Six Creditor Actions to take any action (or refrain from taking any action} in their capacity as
parties to one or more of the Six Creditor Actions. Nor does the instant Order set any dates or
deadlines in the -Six Creditor Actions. Accordingly, the Court believes it is acting in a manner
consistent with the stay imposed by the Third Circuit in the Six Creditor Actions.
                                                   1
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        3.     The Sale Process Parties (i.e., Crystallex, ConocoPhillips, and the Venezuela

Parties) SHALL, and any other interested creditor MAY, brief the following issues, according to

the schedule set out in paragraph 4 below:

               a. Which, if any, judgments should·be regarded as "Additional Judgments"
                  under the Sale Procedures Order e�tered in the Crysta/lex Action?

               b. Should the Court issue full, unconditional orders of attachment (including by
                  converting conditional grants) to any creditors? If yes, should the Court direct
                  service of any such orders of attachment?

               c. How should the Court determine the priority of any judgments that are made
                  Additional Judgments?

        4.     Opening briefs (not to exceed 15 pages) are due May 24, 2023, answering briefs

(not to exceed 10 pages) are due June 7, 2023, and reply briefs (not to exceed 5 pages) are due

June 14, 2023. Any entity participating in the briefing may. file an opening, answering, and

reply brief.

        5.     Responses to the Special Master's report and recommendation in the Crysta/lex

Action, Misc. No. 17-151, including Launch Date Objections, remain due on May 23, 2023 and

replies thereto remain due on June 5, 2023.

        6.     The Court is aware of the following motions (listed below) that are also pending.

Briefing on these shall be completed according to the schedule currently in place or,

alternatively, the parties to such motions shall submit agreed-upon scheduling orders that ensure

completion of such briefing no later than June 14, 2023:

               a. Red Tree's motions for issuance and service of writs of attachment, Misc.
                  Nos. 22-68 D.I. 28 and 22-69 D.I. 28;3


3The parties shall address in their briefing _the Venezuela Parties' contention that "PDVH does
not have the physical share certificate in its possession" and that this creates an "impediment"
under Delaware law fo attachment of shares of stock "unless and until the physical share
certificate has been seized." (Crystallex Action, Misc. No. 17-151 D.I. 558 at 6-7)
                                                2
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                  b. ConocoPhillips' motions for issuance and service of writs of attachment,
                     Misc. Nos. 19-342 DJ. 51 and 22-264 D.I. 22;4

                  c. Counsel for the Bolivarian Republic of Venezuela's motion to withdraw in OJ
                     European Group B. V. v. Bolivarian Republic of Venezuela et al., C.A. No. 19-
                     290 DJ. 75; 5 and

                 d. Contrarian Capital's motions for conditional writs of attachment in Misc. Nos.
                    21-18 D.I. 3, 22-131 DJ. 3, and 22-263 D.l. 3.

          7.     The Court will hear argument on all disputed matters addressed by this Order on

Monday, June 26, 2023, beginning at 10:00 a.m. in the Boggs Federal Building in

Wilmington, Delaware. The Special Master and the Sale Process Parties are required to attend

and be prepared to present argument at the hearing, as are the parties who submit filings in

connection with paragraphs 5 and 6 of this Order. Other interested entities are free to appear and

will be provided an opportunity to be heard.

          8.      Having considered the views expressed in the Special Master's joint status report

of April 6 (Crystal/ex Action, Misc. No. 17-151 DJ. 541), the Court intends to conduct ex parte

meetings (by telephone or in person) with the Special Master on an approximately monthly basis

beginning in July 2023. The Court will coordinate the scheduling of these meetings directly with

the Special Master or his designee, without any involvement of th� Sale Pro¢ess Parties. Within

seven (7) days after the conclusion of �uch a meeting, the Special Master will file a notice on the

docket of the Crystal/ex Action that such a meeting has occurred, its date and location, and

additional information (if any) that the Court directs the Special Master to include in his filing.

The Court intends to have a court reporter present at least at the first of these regular meetings,


4
    Footnote 3 applies to the parties to these motions as well.
5
 A similar motion is pending in 0/ European Group B. V. v. Bolivarian Republic of Venezuela,
Misc. No. 19-290 DJ. 143. As this is one of the Six Creditor Actions that are stayed, the Court
understands that briefing on the motion in connection with this action may be subject to the stay.
                                                    3
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who will transcribe the discussion, and provide the sealed transcript to the Special Master, who

will work with the Court to maintain and preserve such sealed transcripts, so they remain

available for review should any further order of this or any reviewing court determine that such

disclosure is necessary or warranted. The Court will discuss this procedure with the Special

Master at the July meeting. The Special Master will indicate in his post-meeting notices on the

docket whether a court reporter was present at any ex parle meeting with the Court and, if so,

will represent that the transcript is being retained under seal. The Special Master is responsible

for arranging for a court reporter to be present for the ex parle meetings with the Court and shall

charge the Sale Process Parties for any costs incurred in .c nnection with fulfilling this duty.




                                                      HONO BLE LEONARD P. STARK
                                                      UNITED STATES DISTRICT COURT




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